Case 2:19-cr-20026-GAD-EAS ECF No. 130-4 filed 01/02/20 PagelD.956 Pagelof3

Exhibit D

Karnati Student List
 

Case 2:1 SQURMRRARAD PRESHANNA|

 

RAVIPATI, GOPI
KOMMINENI, ADITYA
~__ POKALA, SHASHANK

~ KODUGANTI, ADITYA REDDY —
~ NARALASETTY, SHYAM PRAKASH BABU

 

KATHARAMALLA, ANILA

 

BEZAWADA, MADHUSUDHAN REDDY

 

BANURI, ROHAN

 

POTARLANKA, BALA NAGA DURGA

 

MOOLA, RAMA PHANI KUMAR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PALVAI, RAMESH REDDY
BEGUDAM, ABINOV
PINNAMANENI,PAVAN KUMAR . |
PEMMASANI, VENKATANAIDU d
6. LANKA, RAVI PRASAD mA)
a VANGUR, DHEERAJ KUMAR REDDY -- ——— Not tel lay sn ct
3° GANAPALAM RUDRAYYA, KASTHURI RANGA “17 2u [| ! Te
2. PANUGANTI, TEJASWI ALZ®
10'' ADAPA, KISHORE |
ia THADAKAPALLY, KRANTHI KIRAN REDDY
iii KANMANTHA REDDY, NITHIN
Br MEESHALA, VENKATA SAI NIRMAL KUMAR
4) YERRAMSHETTI, SHIREESHA
5H SHANMUGAM, HARIHARAN
6: BUDDALAMOHAN, VINODH
a BUDDHAVARAPU, HARI VAMSHI
3) ANUMULA, VISHAL
git GUTTA, GOP! KRISHNA
0%. KAMUTAM, SHIVABHARATH KRISHNA
a BACHALA, BHARAT |
2 BANDARI, SUNIL
3) CAVERI, SAl VARA PRASAD
47 KAMARAI, SATISH KUMAR
5 ADLOORI, KRISHNAKANTH
6. ALLA, SAI CHANDRA REDDY |
zi MACHARLA,SRUJITH CHAND |
8) KAMATHAM, SHARATH No [20 received | Ni()_ [_
9) PALANIAPPAN, SARAVANAN 1f 30 [Le ee
0| COIMBATORE MURUGESAN, KARTHIKEYANI — LA0Le a i
1" ~ SUPPALA,CHETAN 4 tb |
2 CHINTHAREDDY, THYAGARAJULU REDDY 7 Ne (> | ; [
30 , LAVANAM,SANDEEP Aa fl@|
40 THUNIKIPATI, SHIRISHA dt to.
i BALREDDYGUDA, SARIKA Defer From Jan Nb E Le
: VELLARAM, SHARATH REDDY Defer From Jan | NO
an GAJULA, ASHISH wet Z
oe Sheet1 J Sheet2 J Sheet’ J +;

 
         

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1)

gs SABLA NS) URGE No) sali PEEP A 01D. 9588 Page, 3 of

SE REDDYGUDA, SARIKA : i Defer From. Jan 2
YELLARAM, SHARATH REDDY \\0 ~ Defer From Jan PS

GAJULA, ASHISH Iya ffe fone d Cm
APPARAGANI, SRAVAN [2/4 [+
WANG, HAIQING ZY
HOODA, FARZANA l2/21 [it
MUDUNURU, SREE‘A3/2/ 1% | aa
KATTA,ROHITH REDDY —— No ne i atk
THUNIKIPATI, SHIRISHA —_\\D. oa ie
GUNDA,SRIHARSHA NO =}
LADDIPALLI,SAICHARAN Ola 2/1 |
GANDHAM,JYOTH!  \j) |
| NAGOJU, RAVI KIRAN

Yashwanth kolluru
Siva harsha illa

_Swamysaranala 3/5
 Sambashiva naspurt !
Jagadeesh ‘babu koduti-

tote

Vamshi relepalll

  

  

 
 
 
 
 
 
 
  
   
  
    
     
  

 

 

 

 

 

 

 

 

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